W. Terry Scannell, OSB No. 853220
Email: terry@scannellaw.com
SCANNELLAW
7307 SW Beveland St. Suite 200
Tigard, Oregon 97223
Telephone: (503) 776-0806
Attorney for Plaintiffs


                         THE UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


ROBERT CUTLER and NANCY                          Case No: 3:18-cv-1692-BR
CUTLER, a married couple. ROBERT
TICE, an individual

       Plaintiffs,

       v.
                                                 PLAINTIFFS’ RESPONSES TO
TYTUS HARKINS, an individual citizen of          DEFENDANTS KEVIN T. CAIACCIO
the State of Montana, JASON WHITE, an            AND CAIACCIO LAW FIRM, LLC’S
individual citizen of the State of Washington,
HARTMAN WRIGHT, LLC a Georgia                    FIRST INTERROGATORIES TO
Limited Liability Company, HARTMAN               PLAINTIFFS
WRIGHT GROUP, LLC a Colorado
Limited Liability Company, HARTMAN
WRIGHT PROJECT MANAGEMENT a
Colorado Limited Liability Company,
PLEASANT HILL MHP HOLDING,
LLC., a Georgia Limited Liability
Company, KEVIN T. CAIACCIO a
citizen of the State of Georgia, and the
CAIACCIO LAW FIRM, LLC, and
JOHN & JANE DOES, 1 -10, who are
either natural persons or legal entities
which are currently unknown to the
Plaintiffs.

       Defendants,




PAGE 1      PLAINTIFFS’ RESPONSES TO DEFENDANTS
            KEVIN T. CAIACCIO AND CAIACCIO LAW
            FIRM, LLC’S FIRST INTERROGATORIES TO
            PLAINTIFFS

                                                       EXHIBIT A to D. W. Silke Declaration
                                                                             Page 1 of 12
Pursuant to FRCP 33, Plaintiffs Robert and Nancy Cutler, and Robert Tice (“Plaintiffs”), by and

though the undersigned counsel submits these responses and objections to Defendants Kevin T.

Caiaccio and Caiaccio Law Firm, LLC (“Defendants”) First Interrogatories to Plaintiffs.

                                 PRELIMINARY STATEMENT

       These responses reflect the present state of knowledge of Plaintiffs. However,

investigation concerning the facts of this case is ongoing and within the responses provided

subject to the right of Plaintiffs to supplement such responses in the future. Consequently, each

of the following responses are given without prejudice to Plaintiffs’ right to introduce documents

or information discovered or deemed responsive, subsequent to the date of these responses.

Further, Plaintiffs gives each of the following responses based on their own personal knowledge

and belief.

       These responses are made by Plaintiffs subject to, and without waiver, or in any way

waiving or intending to waive: (1) all questions or objections as to competency, relevancy,

materiality, privilege and admissibility as to evidence, or for any other purpose, or any of the

documents referred to or attached hereto, or replies given herein, or the subject matter thereof, in

any subsequent proceeding or the trial of this action or any other action; (2) the right to object to

this or other discovery proceedings involved or related to the subject matter of the discovery

herein replied to; and, (3) the right at any time to review, correct, add to or clarify any of the

responses set forth herein or documents produced hereby. While Plaintiffs believes the responses

given hereto to be correct, there is always the possibility of omission or error. These responses

are thus given subject to correction of any such omission or error.

                                        General Objections

1.     These answers are made without waiver of, and with the preservation of (i) all objections

as to competency, relevancy, materiality, privilege, and admissibility of material contained or

 PAGE 2       PLAINTIFFS’ RESPONSES TO DEFENDANTS
              KEVIN T. CAIACCIO AND CAIACCIO LAW
              FIRM, LLC’S FIRST INTERROGATORIES TO
              PLAINTIFFS

                                                               EXHIBIT A to D. W. Silke Declaration
                                                                                     Page 2 of 12
referred to in each response and answer for any purpose in this or any other proceeding; (ii) the

right to object to the use of any material contained or referred to in each response and answer for

any purpose and upon any ground in this or any other proceeding; (iii) the right to object upon

any ground at any time to any demand or request for further documents relating to the subject

matters responded or answered to herein; and (iv) the right to revise, correct, supplement or

clarify, if necessary, any of the responses, answers or objections contained herein.

2.      Plaintiffs generally objects to these interrogatories to the extent that they purport to

impose obligations beyond those imposed by the FRCP or the Court's local rules. Plaintiffs will

comply with the FRCP and local rules in answering the interrogatories.

3.      Plaintiffs expressly reserves the right to introduce evidence, to charge or clarify its

responses as new information is learned to supplement their response(s).

4.      Plaintiffs objects to these interrogatories to the extent that they seek information that is

not relevant to the issues in this litigation, or are not reasonably calculated to lead to the

discovery of relevant and admissible information.

5.      Plaintiffs objects to these interrogatories to the extent that they purport to require

Plaintiffs to provide information that is not in their possession, custody or control or seek

information regarding third parties.

6.      Plaintiffs objects to these interrogatories to the extent that they call for the disclosure of

information subject to attorney-client privilege, work product protection, or are otherwise legally

protected from discovery.

7.      Plaintiffs' investigation of facts and information that may be response to Defendant's First

Interrogatories is ongoing. Plaintiffs’ responses set forth herein reflect the best information


 PAGE 3       PLAINTIFFS’ RESPONSES TO DEFENDANTS
              KEVIN T. CAIACCIO AND CAIACCIO LAW
              FIRM, LLC’S FIRST INTERROGATORIES TO
              PLAINTIFFS

                                                                EXHIBIT A to D. W. Silke Declaration
                                                                                      Page 3 of 12
currently available to their based on a reasonable investigation to date. Accordingly, Plaintiffs

objects to the use of the terms “state with particularity” in the interrogatories and Plaintiffs

expressly reserve the right to alter, amend, or supplement, their objections and/or responses as

may be necessary and/or appropriate. This is particularly the case when the Interrogatory asks for

“All facts that support” an allegation or contention. Discovery has just started in the case and the

Plaintiffs reserves the right to support or amend their response as new information is learned.

       Without waving any of the following general objections, Plaintiffs responds as follows:



INTERROGATORY NO. 1:                   Identify and describe all meetings, events, and/or

seminars that you attended that were hosted, held or put on by Tytus Harkins.

RESPONSE: Objection, this request is overly broad pursuant to LR-33(d), unduly burdensome,

and vague. Without Waiving said objections Plaintiffs’ respond as follows: Plaintiffs cannot

recall the exact dates, and in most cases, the exact locations of the meetings or events. Plaintiffs

can state that the earliest the first meeting with Mr. Harkins could have been would be January

2015 or December 2014.

       Plaintiff Tice attended one seminar in Wilsonville in or about January of 2015, and

Plaintiffs Robert and Nancy Cutler attended another Seminar in Tigard/Lake Oswego in or about

December of 2014 or January of 2015 where Tytus Harkins and/or Jason White described

Hartman Wright Investment products. Plaintiff’s attended one or more follow up presentations

on Hartman Wright Investment products. These occurred in or about March 2015, May 2015,

August 2015 and August 2017. Mr. Tice also attended and three or four “luncheons” at different

restaurant hosted by Tytus Harkins and/or Jason White as Hartman Wright where presentations


 PAGE 4       PLAINTIFFS’ RESPONSES TO DEFENDANTS
              KEVIN T. CAIACCIO AND CAIACCIO LAW
              FIRM, LLC’S FIRST INTERROGATORIES TO
              PLAINTIFFS

                                                               EXHIBIT A to D. W. Silke Declaration
                                                                                     Page 4 of 12
and solicitations were given. These occurred in or about November 2016, March 2017, and

August 2017.

       Plaintiffs also attended several river cruises put on by Tytus Harkins and/or Jason White

as Hartman Wright that were put on to provide updates to Hartman Wright Investors. These

occurred in or about October 2015, August 2016, and October 2017.



INTERROGATORY NO. 2:                   Identify and describe all meetings, events, and/or

seminars that you attended that were hosted, held or put on by Jason White.

RESPONSE: Objection, this request is overly broad pursuant to LR-33(d), unduly burdensome,

and vague. Without Waiving said objections Plaintiffs’ respond as follows: Plaintiffs cannot

recall the exact dates, and in most cases, the exact locations of the meetings or events. Plaintiffs

can state that the earliest the first meeting with Mr. Harkins could have been would be January

2015 or December 2014.

       Plaintiff Tice attended one seminar in Wilsonville in or about January of 2015, and

Plaintiffs Robert and Nancy Cutler attended another Seminar in Tigard/Lake Oswego in or about

December of 2014 or January of 2015 where Tytus Harkins and/or Jason White described

Hartman Wright Investment products. Plaintiff’s attended one or more follow up presentations

on Hartman Wright Investment products. These occurred in or about March 2015, May 2015,

August 2015 and August 2017. Mr. Tice also attended and three or four “luncheons” at different

restaurant hosted by Tytus Harkins and/or Jason White as Hartman Wright where presentations

and solicitations were given. These occurred in or about November 2016, March 2017, and

August 2017.


 PAGE 5      PLAINTIFFS’ RESPONSES TO DEFENDANTS
             KEVIN T. CAIACCIO AND CAIACCIO LAW
             FIRM, LLC’S FIRST INTERROGATORIES TO
             PLAINTIFFS

                                                              EXHIBIT A to D. W. Silke Declaration
                                                                                    Page 5 of 12
       Plaintiffs also attended several river cruises put on by Tytus Harkins and/or Jason White

as Hartman Wright that were put on to provide updates to Hartman Wright Investors. These

occurred in or about October 2015, August 2016, and October 2017.



INTERROGATORY NO. 3:                   Identify and describe all meetings, events, and/or

seminars that you attended that were hosted, held or put on by Hartman Wright.

RESPONSE: Objection, this request is overly broad pursuant to LR-33(d), unduly burdensome,

and vague. Without Waiving said objections Plaintiffs’ respond as follows: Plaintiffs cannot

recall the exact dates, and in most cases, the exact locations of the meetings or events. Plaintiffs

can state that the earliest the first meeting with Mr. Harkins could have been would be January

2015 or December 2014.

       Plaintiff Tice attended one seminar in Wilsonville in or about January of 2015, and

Plaintiffs Robert and Nancy Cutler attended another Seminar in Tigard/Lake Oswego in or about

December of 2014 or January of 2015 where Tytus Harkins and/or Jason White described

Hartman Wright Investment products. Plaintiff’s attended one or more follow up presentations

on Hartman Wright Investment products. These occurred in or about March 2015, May 2015,

August 2015 and August 2017. Mr. Tice also attended and three or four “luncheons” at different

restaurant hosted by Tytus Harkins and/or Jason White as Hartman Wright where presentations

and solicitations were given. These occurred in or about November 2016, March 2017, and

August 2017.




 PAGE 6      PLAINTIFFS’ RESPONSES TO DEFENDANTS
             KEVIN T. CAIACCIO AND CAIACCIO LAW
             FIRM, LLC’S FIRST INTERROGATORIES TO
             PLAINTIFFS

                                                              EXHIBIT A to D. W. Silke Declaration
                                                                                    Page 6 of 12
        Plaintiffs also attended several river cruises put on by Tytus Harkins and/or Jason White

as Hartman Wright that were put on to provide updates to Hartman Wright Investors. These

occurred in or about October 2015, August 2016, and October 2017.




INTERROGATORY NO. 4:                  Identify and describe all meetings, events, and/or seminars

that you attended that were hosted, held or put on by Pleasant Hill MHP Holding, LLC.

RESPONSE: Plaintiffs never attended anything specifically branded as an Pleasant Hill MHP

Holding, LLC event.



INTERROGATORY NO. 5:                  Identify, by address, your principal residence.

RESPONSE: Plaintiff Tice: 401 NW Territorial Rd. Canby OR, 97013

Plaintiffs Robert and Nancy Cutler: 10897 SW Merlin Ct., Wilsonville, OR 97070



INTERROGATORY NO. 6:                  Identify the address where you are registered to

vote.

RESPONSE: See response to Interrogatory No 5.



INTERROGATORY NO. 7:                  Identify the state where your vehicle(s) is/are

registered.

RESPONSE: Oregon.




 PAGE 7       PLAINTIFFS’ RESPONSES TO DEFENDANTS
              KEVIN T. CAIACCIO AND CAIACCIO LAW
              FIRM, LLC’S FIRST INTERROGATORIES TO
              PLAINTIFFS

                                                             EXHIBIT A to D. W. Silke Declaration
                                                                                   Page 7 of 12
INTERROGATORY NO. 8:                 Identify the number and state of issuance of your

driver’s license.

RESPONSE: Plaintiff Tice: Oregon, 361019

               Plaintiff Nancy Cutler: Oregon, 9435175

               Plaintiff Robert Cutler: Oregon, 9435172



INTERROGATORY NO. 9:                 Identify the state in which you pay income taxes.

RESPONSE: Oregon.



INTERROGATORY NO. 10:                Identify and describe any other state in which you

own real property.

RESPONSE: Plaintiffs own no property in other states but bought securities related to other

properties in Georgia.



INTERROGATORY NO. 11:                Identify and describe all communications between

you and Caiaccio Defendants.

RESPONSE: Objection, this request is overly broad pursuant to LR-33(d), unduly burdensome,

and vague. Plaintiff Tice had email communications in 2015 with the Caiaccio defendants

regarding getting “ink” versions of original documents related to the Robin’s Landing

Transaction sent to Equity Institutional . Defendant Kevin Caiaccio also emailed Plaintiff Tice to

confirm that $1,004,000 dollars had been successfully received via wire into a bank account of




 PAGE 8       PLAINTIFFS’ RESPONSES TO DEFENDANTS
              KEVIN T. CAIACCIO AND CAIACCIO LAW
              FIRM, LLC’S FIRST INTERROGATORIES TO
              PLAINTIFFS

                                                            EXHIBIT A to D. W. Silke Declaration
                                                                                  Page 8 of 12
the Caiaccio Defendants. Defendant Kevin Caiaccio also confirmed that documents were sent to

Plaintiff Tice’s address in Oregon.

       On information and belief, Plaintiffs also received communications in the form of wire

instructions for accounts controlled by the Caiaccio Defendants. Plaintiff Tice received a letter

dated March 13, 2017 from the Caiaccio Law Firm that accompanied the original Note and

Subscription agreement for another transaction with Hartman Wright not described in the

complaint.

       Most of the documents received by plaintiffs were prepared by the Caiaccio Defendants

and sent through others.



INTERROGATORY NO. 12:                 Identify and describe all documents that you

received directly from Caiaccio Defendants.

RESPONSE: Objection, this request is overly broad pursuant to LR-33(d), unduly burdensome,

and vague Plaintiff Tice received documents purporting to confirm that documents related to the

Robins Landing Transaction had been sent by the Caiaccio Defendants to Equity Institutional.



INTERROGATORY NO. 13:                 Identify and describe all solicitations that you

received regarding the transactions at issue in your complaint.

RESPONSE: Objection, this request is overly broad pursuant to LR-33(d), unduly burdensome,

and vague. Plaintiffs were initially solicited to purchase Hartman Wright Securities at Seminar

lead by Tytus Harkins. After this they were given one or more written prospectuses, which on

information and belief were prepared by the Caiaccio Defendants. Then there were one or more


 PAGE 9      PLAINTIFFS’ RESPONSES TO DEFENDANTS
             KEVIN T. CAIACCIO AND CAIACCIO LAW
             FIRM, LLC’S FIRST INTERROGATORIES TO
             PLAINTIFFS

                                                             EXHIBIT A to D. W. Silke Declaration
                                                                                   Page 9 of 12
follow up presentations and various phone calls or emails with Tytus Harkins, Jason White, or

agents of Hartman Wright prior to and after the purchase of Hartman Wright Securities. The

money was sent to the Caiaccio Defendants from Oregon and was sent directly or through third

parties.



           DATED: July 3, 2019             /s/Robert Cutler__________________
                                           Robert Cutler


           DATED: July 3, 2019             /s/Nancy Cutler__________________
                                           Nancy Cutler


           DATED: July 3, 2019             /s/Robert Tice___________________
                                           Robert Tice
           DATED: July 3, 2019.

                                            SCANNELLAW

                                            /s/ Terry Scannell
                                            Terry Scannell (OSB #853220)
                                            7307 SW Beveland St. #200
                                            Tigard, OR 97223
                                            Tel: (503) 776-0806
                                            E-mail: terry@scannellaw.com
                                            Attorney for Plaintiffs




 PAGE 10       PLAINTIFFS’ RESPONSES TO DEFENDANTS
               KEVIN T. CAIACCIO AND CAIACCIO LAW
               FIRM, LLC’S FIRST INTERROGATORIES TO
               PLAINTIFFS

                                                          EXHIBIT A to D. W. Silke Declaration
                                                                              Page 10 of 12
                                CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing on the following persons on July 3, 2019, by

hand-delivering, faxing, emailing, or mailing (as indicated below) to each a true copy thereof,

certified by me as such, and if mailed, contained in a sealed envelope, with postage paid,

addressed to said attorneys at the last known address of each shown below and deposited in the

post office on said day at Portland, Oregon:


 David W. Silke (OSB No. 914295)                                    by hand-delivery
 Gordon Rees Scully Mansukhani LLP                                  by email
 701 Fifth Avenue, Suite 2100                                       by first class mail
 Seattle, WA 98104                                                  by UTCR 21.010(5)
 Telephone: (206) 695-5112
 dsilke@grsm.com
 Attorney for Kevin T. Caiaccio, and Caiaccio Law Firm
 LLC

 Lowell P. McKelvey, OSB No. 993200                                 by hand-delivery
 McKelvey Kozuma, PC                                                by email
 3635 SW Hood Avenue                                                by first class mail
 Portland, OR 97239                                                 by UTCR 21.010(5)
 Telephone: (503) 206-8122
 Email: Lowell@mckelveykozuma.com
 Attorney for Defendant White
                                                                    by hand-delivery
 David S. Aman, OSB No. 962106                                      by email
 Aman Law LLC                                                       by first class mail
 8 North State Street, Ste 301                                      by UTCR 21.010(5)
 Lake Oswego, OR 97034
 Phone: 503.810.0850
 Email: david@amanlawpdx.com
 Attorney for Defendant Harkins




 PAGE 11     PLAINTIFFS’ RESPONSES TO DEFENDANTS
             KEVIN T. CAIACCIO AND CAIACCIO LAW
             FIRM, LLC’S FIRST INTERROGATORIES TO
             PLAINTIFFS

                                                            EXHIBIT A to D. W. Silke Declaration
                                                                                Page 11 of 12
Tanya Durkee Urbach (OR Bar No. 962668)                      by hand-delivery
Amir Tadjedin (OR Bar No. 055613)                            by email
MARKUN ZUSMAN FRENIERE & COMPTON LLP                         by first class mail
1500 SW First Ave, Suite 1020                                by UTCR 21.010(5)
Portland, Oregon 97201
Tel: 971-754-4458
turbach@mzclaw.com
atadjedin@mzclaw.com
Attorneys for Defendants Hartman Wright Group, LLC,
Hartman Wright Project Management, LLC, and Pleasant
Hill MHP Holding, LLC



     DATED: Wednesday, July 3, 2019



                                       /s/Terry Scannell
                                       Terry Scannell, OSB #853220
                                       7307 SW Beveland st. Suite 200
                                       Tigard, OR 97223
                                       T: 503-789-6866
                                       E: terry@scannellaw.com
                                       Attorney for Plaintiffs




PAGE 12   PLAINTIFFS’ RESPONSES TO DEFENDANTS
          KEVIN T. CAIACCIO AND CAIACCIO LAW
          FIRM, LLC’S FIRST INTERROGATORIES TO
          PLAINTIFFS

                                                       EXHIBIT A to D. W. Silke Declaration
                                                                           Page 12 of 12
